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               EXHIBIT “A”
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRlCT OF FLORIDA
                                   ORLANDO DMSION

                                 Case No. 6:22-cv-02075-RBD-LHP

         MARISSA GIANNERlNl,

               Plaintiff,

         V.


         EMBRY-RIDDLE AERONAUTICAL
         UNIVERSITY, INC.,

               Defendant.
        _ _ _ _ _ _ _ _ _ _ _ _ _!

          DECLARATION OF DAWN PARR CHAPPEL CERTIFYING RECORDS
                     PURSUANT TO FEDERAL RULE OF EVIDENCE 902

              Dawn Parr Chappel, pursuant to28 U.S,C. § 1746, hereby cenifies as follows:

              1.     Tam over 18 years of age, of sound mind, and otherwise competent to

        make this declaration, The evidence set out in this declaration is based on my personal

        knowledge and ifcalled as a wimess I could, and would, testify competently as to these



              2.     lam a licensed marriage and family therapist and the owner of Cottage

        Row Counseling.

              3.     In that capacity, I am a custodian ofrecords tbr Cottage Row Counseling.
              4.     I earned a B.A. in Psychology from Emory University in Atlanta,

        Georgia. as well as a Master's of Science in Marriage & Family Therapy from Stetson
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        University in Deland, Florida. r have over 15 years of experience working with clients

        of all ages and backgrounds.

              5.     I sub mit this declaration in support of the records attached hereto, which

        are: handwritten notes l took during individual therapy sessions I conducted with

        Plaintiff Ma rissa Oiannerini; handwritten notes I took during the couples tl)erapy

        sessions I conducted with Plaintiff Marissa Giannerinj and Wade Hastings; text

        messages and instant messages between myself and Plaintiff Marissa Giannerini; a

        summary letter that l prepared about Plaintiff Marissa Giannerini's treatment; and

        forms that Plaintiff Marissa Giannerini filled out in relation to our therapy sessions.

              6.     The records attached hereto were made at or near the time of the events

        reflected in the records by people with knowledge of those maners.

              7.     It was the regular practice of Cottage Row Counseling's business

        activities to make the records. These records were made as part of that regular practice.

              8.     T he records were kept in the ordinary course of Cottage Row

        Counseling's business activity.

              T certify under penalty of perjury that the foregoing is true and correct.

               Executed on [DATE].




                                                 Dawn Parr Chappel




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    ATTACHMENT OMITTED FROM PUBLIC FILING
        AS PLAINTIFF HAS DESIGNATED IT
                CONFIDENTIAL1




 1
    The attachment is Defendant’s proposed Trial Exhibit Number 29, which consists of 53 pages from Ms.
 Chappel’s file Bates numbered Chappel_0001 through Chappel_0053. Defense counsel objected to the
 filing of the Confidential documents but is unavailable to confer until at least January 21, 2025. Accordingly,
 the referenced documents have been omitted to allow Plaintiff an opportunity to request the documents be
 filed under seal. If this Confidentiality issue can be resolved among counsel, an updated filing will be
 submitted to the Court.
